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COLLECTIVE BARGAINING
AGREEMENT

between

AUBURN FOUNDRY, INC.
Auburn, Indiana

and

GLASS, MOLDERS, POTTERY,
PLASTICS & ALLIED WORKERS
INTERNATIONAL UNION,
AFL-CIO, CLC
(GMP INTERNATIONAL UNION)

Local 322

May 3, 2003 through May 3, 2006

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PLEDGE ALLEGIANCE TO THE FLAG

"I pledge allegiance to the Flag of the United States of
America, and to the Republic for which it stands - one

nation under God, indivisible, with liberty and justice for

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PREAMBLE

This is an Agreement between the Auburn Foundry, Ine.
hereinafter referred to as the “Company” and the Glass,
Molders, Pottery, Plastics & Allied Workers International

Union, AFL-CIO, CLC and its Local 322, hereinafter referred
to as the “Union.”

ARTICLEI
Recognition

SECTION 1.1 Exclusive Bargaining Representative.
The Company recognizes the Union as certified by the
National Labor Relations Board, as the exclusive bargaining
representative with respect to rates of pay, wages, hours of

employer at all production facilities in DeKalb County, but
excluding Superintendents, Foremen, Assistant Foremen,
Tume Study Men, Administrative Office and Salaried em-
ployees or Watchmen and Plant Protection employees.

ARTICLETI
Union Membership

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ECTION 2.1 Union Dues. Membership in the union
s not compulsory for employees covered by this Agree-
ment. Itis agreed, however, that employees, after having
served their probationary period and as provided under
federal law, shall be required as a condition of employ-
ment to pay the required initiation fee and monthly
union dues or representation fee. The initiation fee and
subsequent monthly dues/representation fees can be
paid through a voluntary check off. The union agrees to

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employment, and other conditions of employment for all:
production, warehouse, and maintenance employees of the

refund any initiation fee to any employee that termi-
nates prior to the end of the probationary period. On the
first pay day of each month, the Company will deduct
these amounts from the pay of each employee entitled to
receive a check and who has executed a voluntary check-
off authorization card and remit the same to the union.

ARTICLE
Check-Off

SECTION 3.1 Payroll Deduction. During the terms of this
Agreement, the Company will continue to check offmonthly
dues and fees and initiation fees each as designated by the
Financial Secretary of the Union, on the basis of and for the
term of individually signed voluntary check-off authorization
cards. The Company shall also furnish the Union with a list
ofnames, addresses, and social security numbers from whom
such dues and fees have been collected. By mid-November,
the Company shall provide to the local Union a list of all
employees who have paid initiation fees for that fiscal year.

a) Dues and fees shall be deducted from Union employee’s
paychecks on the first pay day of each month of those
employees entitled to receive a check. The Company will
divide the Union dues deducted from the members,
between the International and Local #322, as directed by
the International Secretary/Treasurer.

b) TheCompany willnotbe required to make deductions for
assessments until it has been officially notified by the
Union in writing, and the deductions will be made at the
next deduction period after receiving notice.

SECTION 3.2 Check-off Form. The form of the voluntary

. written assignments shall be as set forth on Exhibit I “Assign-

ment And Authorization’’.

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SECTION 3.3 Indemnification. The Union shall indem-
nify the Company and hold it harmless against any and all
suits, claims, demands and liabilities that shall arise out of or
by reason of any action that shall be taken by the Company
for the purpose of complying with this section or in reliance
on any assignment or authorization which shall have been
furnished to the Company under any of such provisions.

SECTION 3.4 Transfer Outside Bargaining Unit. If an
employee who has signed a “Check-Off Authorization” is
promoted or transferred to a position outside the Bargaining
Unit, his “Check-Off Authorization” shall be cancelled auto-
matically as of the date of such promotion or transfer. Should
he be subsequently placed ona job in the Bargaining Unit and
desire to have Union dues deducted, it shall be necessary for

him to complete and supply to the Company a new “Check--.
Off Authorization.” The Company will notify the Union of

days of the transfer.

SECTION 3.5 Provision of Average Hourly Rate. The
Company shall submit in writing the average hourly rate of
total employees fora twelve (12) week period beginning with
the first pay period in April. The average rate to be furnished
will be exclusive ofall overtime and holiday pay. The average
rate will be computed and submitted to the Financial Secretary
of the Union on an annual basis.

SECTION 3.6 Meeting With New Employees. Represen-
tatives of the Bargaining Committee will be permitted to
meet with new employees during employee orientation
for 15 minutes. Upon completion of the probation period,
the employee(s) will be permitted to meet with representative(s)
of the Bargaining Committee. The Company will provide an

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on-site location for the Bargaining Committee and employee(s)
to meet, and will provide 30-minutes unpaid time outside of
the employee’s shift to conduct said meeting.

ARTICLEIV
Management Responsibility

SECTION 4.1 Management Rights. The Union recognizes
the Company as retaining sole right to manage its business
subject only to restrictions governing the exercise of these
rights as are expressly provided in the Agreement. Suchrights
include, but are not limited to, the right to hire, transfer,
promote, demote, suspend, discharge for just cause, or
otherwise discipline employees; to determine and change
methods, to establish fair standards of production; processes
and methods desired as a result of advanced technology
processes; to determine the number and location of the
Company plants; the work to be performed in each of them;
and to make decisions as to whether to perform work in this
or any other plant. The Company shall determine the type
of manufacturing equipment and the sequence of manufactur-
ing processes.

Additionally, the Company has the right to assign work to or
contract with an outside contractor when it decides the
employees do not have the skills, equipment or availability
to perform such work in the manner expected by the Company
or when it decides such contracting out is appropriate for
economic reasons, so long as it does not cause the layoff of

bargaining unit employees.

SECTION 4.2 Management Work Rule Rights. The
Company reserves the right to continue in effect and enforce

previously published rules and regulations governing the

conduct of employees, including but not limited to attendance

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and substance abuse policies. The Company may modify or
supplement these rules and regulations, and publish new rules
and regulations provided that all saidrules are:

a) Reasonable;
b) Uniformly applied among employees; and
c) ~Postedten(10) calendar days in advance of their adoption.

SECTION 4.3 Duty To Discuss Changes. The Company
shall discuss modified or new rules with the Union at least ten
( 10) working days prior to implementation. All rules and
disciplinary action taken thereunder shall be subject to the
grievance procedure.

SECTION 4.4 Unpaid Suspension During Investigation.

Any employee charged with violation of a Group One work
rule may be suspended without pay while the Company
conducts an investigation. If the employee is found not in
violation ofa Group One work rule, or an ensuing discipline
is less than the period of suspension, the employee will be
paid the amount of back pay the employee lost by virtue of
the suspension being for a period for which there should not
have been a suspension, at the employee’s regular straight-
time hourly rate, including shift premium.

ARTICLE V
Anti-Discrimination

SECTION 5.1 Equal Employment. The Parties agree that
there shall be no discrimination in employment opportunities
because of race, color, creed, sex, national origin, age, or
disability as provided by law. This Agreement applies to all

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existing employees and all applicants for employment with
respect to: hiring, placement, upgrading, transfer or demo-
tion, recruitment, advertising, solicitation for employment,
treatment during employment, rates of pay or other forms of
compensation, selection for training, layoff or termination.

The Company agrees to provide periodic diversity training to
all current and newly hired employees. The content and
frequency of such training will be left to the Company’s
determination, although the Union may offer adviceregarding
the content or frequency of such training.

SECTION 5.2 Gender References. Whenever in this
Agreement employees are referred to in the male gender, it
shall be regarded as referring to both male and female employ-

ees.

ARTICLE VI
Representation

SECTION 6.1 Union Representation. For the purpose of
presenting or adjusting any complaint or grievance which may
arise under the terms of this Agreement, the employees shall
be represented in the Grievance Procedure as follows:

a) The Union shall be represented by a General Grievance
Committee of five (5) selected by members of the Union.

b) By a Steward in each department that does not have a
member of the General Grievance Committee in the

department.

c) The employee shall have their choice of any Union

representative on shift within the plant.

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d) Any situation involving Group One Rules, the employee
shall be represented by the Bargaining Committee.

SECTION 6.2 Qualifications of Union Representatives.
All representatives, both Stewards’ and members of the
General Grievance Committee shall be employees from the
shop. In the event a member of the General Grievance
Committee or a Steward is unavailable to conduct the func-

tions of their position, the President of the Union may

appoint an alternate during such time.

SECTION 6.3 List of Union and Management Represen-
tatives. The Union agrees to keep the Company advised at
all times, in writing, as to the members of the General
Grievance Committee, Stewards or alternates, indicating the
area to which each is assigned. Also in return, the Company
will keep the Union advised at all times, in writing, of any

supervisory or management changes directly affecting the
members of the Union.

ARTICLE VII
Grievance Procedure

SECTION 7.1 Establishment of Grievance Procedure.
The grievance procedure shall apply to all grievances pertain-
ing to and/or arising out of the interpretation or application
of this Agreement. Any complaint that this Agreement has
been violated must cite the section allegedly violated, the way
in which it has been violated, and the adjustment sought. The
subj ect matter of, and the adjustment sought, in the original
written grievance may not be altered in subsequent steps of
the Grievance Procedure. A complaint alleging an unreason-
able working condition shall be considered a legitimate griev-
ance within the foregoing definition. Any grievance discus-

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sion must be held within four (4) working days of its
occurrence or no grievance shall be deemed to exist.

a) Membersofthe Bargaining Committee and Stewards shall
have access to the Plants during their non-working hours
for the purpose of investigating complaints and/or griev-
ances after approval from the Plant Manager, or his
designate, which approval will not be unreasonably
withheld. Further, such union officials will be allowed up
to two (2) hours per week at their regular straight time
hourly rate to investigate complaints or grievances during
their working time so long as they secure permission from
their supervisors, which permission will not be unreason-
ably denied. If permission is denied, then no more than
two hours after the request, the union official will be
allowed to leave his/her job assignment to investigate the
complaint or grievance. The union official’s investigation
will not interfere with the production or maintenance
activities of the plant. Such union officials must keep
track of their time engaged in the activities of this section
on their Company job cards.

b) Time spent in meeting with the Company in accordance
with Section 7.3, Step 2 and Section 7.4, Step 3, will be
compensable in addition to the investigative time listed
above.

SECTION 7.2 Step One - Initial Verbal Discussion. Any
employee who feels he has a complaint shall personally
discuss his complaint with his Supervisor. As soon as.
possible after the discussion and in any event not more than
one (1) working day later, the Supervisor will give his verbal
answer to the employee. A final agreement on a grievance in

the verbal discussion stage shall apply to that grievance, and

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shall not establish a binding precedent for any other grievance.
Should the employee desire the Committeeman or Steward to
enter the discussion during the verbal stage, the employee may
do so by informing the employee’s supervision.

SECTION 7.3 Step Two - If the Steward or the General
<t Grievance Committeeman for this area do not consider the
Ss “_ answer satisfactory, they may within three (3) working days
=from the date of the Supervisor’s answer to present the
®Production Manager for that Shift with a written grievance
& signed by the employee and/or the Committeeman or Steward,

as the case may be for the area. In the interest of prompt
Chandling, all discharge grievances will originate in Step Three.

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Na) When the written grievance is received, the Production
Manager will arrange a conference with the employee and
the Steward or Committeeman for the area within two (2)
working days from the time the grievance was received.

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Ifa satisfactory settlement of the dispute is reached, the
terms of the settlement shall be entered on the written
grievance, signed by the Production Manager, the Steward
or Committeeman for the area, and employee, and the
copies of the grievance distributed to participants.

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Shoulda settlementnotbe agreed to during the discussion,
the Production Manager will enter his/her reply to the
grievant’s complaint and return it to the Steward or
Committeeman for the area, no more than two (2) working
days after the termination of the discussion.

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If the written answer is unsatisfactory to the Committee-
man, the grievance may be appealed to the next step of the
Grievance Procedure, in writing within three (3) working
days of receipt of the Production Manager’s written
answer.

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SECTION 7.4 Step Three - Upon receipt of the grievance
from the General Grievance Committee, the Management
shall establish a meeting with a Representative of the Inter-
national Union and the General Grievance Committee not
earlier than one (1) week nor later than two (2) weeks after
conclusion of Step Two, and attempt to reach agreement on
the grievance. The Company shall notify all affected depart-
ments of the dates of any Step 3 grievance meeting and shall
make such notification in advance of such meeting. By mutual
agreement between the parties, the time limit in this step may
be extended, but such extension may not be for more than two
(2) additional weeks.

a) A Company representatives who make decisions on
Third Step Grievances shall attend all Third Step Griev-
ance meetings.

b) The Bargaining Committee shall be permitted 45-minutes
prior to all Step 3 grievance meetings. Representatives off
shift attending a scheduled meeting shall be compensated
at their regular hourly straight time rate.

c) The Company will provide the Union a Step 3 answer
within fifteen (15) working days of the Step 3 meeting.

d) Ifthe Union does not accept the Company’s answer then,
the local union shall refer the grievance andthe Company’s
last answer to the International President of the Union for
discussion by the International President or his desig-
nated representative with the Company. The Interna-
tional President or his designee will have twenty (20) days
from the date of the Company’s third step answer to
accept the Company’s last answer or request in writing
that the grievance be referred to arbitration as provided in

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Section 7.5 below. Inthe event the International President
does not request arbitration as provided above, the
grievance will be resolved based on the Company’s
answer given pursuant to subparagraph (c) of this step.

SECTION 7.5 Step Four - Upon receipt of the International

President’s request, the Company will prepare a written

request to the American Arbitration Association (AAA) for
apanel of fifteen (15) arbitrators from Indiana and its adjoining
states and the grievance shall proceed to arbitration according
to the rules of the AAA, as modified below.:

a) Upon receiving the panel of arbitrators, the parties shall
meet to select an arbitrator. The party requesting arbitra-
tion shall strike first from the list of arbitrators and each
shall proceed to alternately strike until one (1) remains,
who shall serve as the arbitrator.

b) Thedecision ofthe arbitrator shall be final and binding on
all parties. The arbitrator shall have no authority to add
to, delete from, or in any way modify the terms of this
Agreement, or any supplemental agreement hereto. The
arbitrator’s authority shall be confined to the interpreta-
tion of the terms of this Agreement and any supplemental
agreements.

c) The arbitrator will be required to render his/her decision
within twenty-one (21) working days from the date of the
hearing.

d) Each party shall bear the expenses of its appointed
representatives, witnesses, and all preparation.

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e) The fees and expenses of the arbitration service and the
arbitrator will be borne equally by the parties.

f) Ifboth parties agree on the need for a reporter, then the
cost of the reporter will be borne equally by the parties.
If the parties do not agree, then the party requesting the
reporter will pay the expense for the reporter.

g) Either party may submit confidential pre-hearing state-
ments to the arbitrator and post-hearing briefs within the
time allowed by the arbitrator.

SECTION 7.6 Time Limits. When the expiration of any
limit indicated in the foregoing procedure occurs on a day
which is not a regularly scheduled work day, the time limit
shall automatically be extended to the end of the next regular
comparable work shift period. There shall be strict adherence
to all of the time limits, at one or more steps in the grievance
procedure. Should the Union fail to comply with the time
limits, the grievance shall be deemed to have been dropped,
and it shall not be subject to any further processing in the
grievance procedure. Should the Company fail to comply
with the time limits at any step of the grievance procedure,
the grievance shall automatically advance to the next stage of
the procedure.

a) Any days missed by the grievant or Union represen-
tative handling the grievance shall not be counted for
purposes of time limits.

SECTION 7.7 Retroactivity of Decision. Retroactivity of
any issues or remedies arising under this grievance procedure
shall be limited to the facts occurring within fifteen (15)

- working days prior to the presentation of the written griev-

ance in Step Two of the Grievance Procedure.
ARTICLE VII
Seniority

SECTION 8.1 Defined. Seniority shall mean the employee’s
length of service since his last date of hire by the Company.
When two (2) or more employees report to work on the same
Niday, the order in which they appear on the seniority list will
‘sbe alphabetically by last name.
od

od

vYSECTION 8.2 Probationary Period; Summer Employ-

fees. All new employees must satisfactorily complete a
probationary period of at least sixty (60) days worked from

othe date ofhire. During this period, a probationary employee

amay be terminated for any reason at Management’s discre-

Stion.

oNew employees shall participate in employee benefits to
“which they are entitled by the Agreement on the 61st day
—worked.

colhe Company may employ summer workers to perform

bargaining unit work who shall not be covered by the terms
Cof this Agreement. The assignment of such workers by job
cand’ or shift will not be the basis for a grievance pursuant to
‘Article VIL, unless such workers are used to displace bargain-
ing unit employees from their jobs or shifts.

© .

a : .

SECTION 8.3 Loss of Seniority. Seniority and all rights
qof employment shall terminate when an employee:

NY
ca) Quits.
b) Is discharged for just cause and is not reinstated

c) Fails to answer a recall to work or make satisfactory
arrangements with the Company within three (3) working

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days after notice has been sent to report by certified mail.
Each employee shall at all times, keep the Company
advised in writing of his current address to entitle such
employee to the benefits of the ARTICLE.

d) Fails to return to work within five (5) days after the
completion of a leave of absence or fails to present an
excuse satisfactory to the Company for his failure to
return from such leave.

e) Is laid off or absent from work for the length of the
employee’s seniority, up to a maximum of two (2) years.
An employee who has returned to work from a leave of
absence must return within five (5) full consecutive
working days in order to be deemed to have “returned”
from a leave of absence for this purpose.

f) Misrepresents the reason for a leave of absence or secures
employment while on a leave of absence other than that
specifically provided for in the terms of this Agreement.

SECTION 8.4 Transfer Out of Bargaining Unit. In the
event any Bargaining Unit employee is transferred to a
position outside the Bargaining Unit, the employee shall
retain the seniority the employee had for a period of one (1)
year, but shall not accumulate seniority during the time the
employee occupied a job outside of the Bargaining Unit.
Should the employee elect to return or is returned to the
Bargaining Unit during this one (1) year period, the employee
shall exercise plant-wide seniority as follows:

a) Fill any available opening in the plant.

b) Should there be no available openings, the employee shall
displace the least senior employee in the plant, or

‘c) Be placed on layoff.

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If at the expiration of one (1) year the employee has not
returned to the Bargaining Unit, the employee’s Bargaining
Unit seniority shall terminate.

SECTION 8.5 Seniority Lists. Plant-wide seniority lists
shall be revised quarterly, be posted on plant-wide bulletin
boards and be unobstructed from view.

SECTION 8.6 Bargaining Committee Seniority. Mem-
bers ofthe Bargaining Committee shall be recognized as having
top seniority for purposes of layoff and recall, providing they
have the ability to do the work involved.

ARTICLE IX
Layoffs and Recalls

SECTION 9.1 Types Defined. Layoffs because of lack of

work shall be of two types: temporary layoffs and indefinite
layoffs as follows:

a) Temporary Layoff -a temporary layoff shall be a layoff
of not more than one (1) week in duration. -

b) Indefinite Layoff-an indefinite layoffshall be a layoff that
is more than one (1) week in duration and the recall time
is unknown. The Union shall be notified at least twenty-
four (24) hours in advance of the layoff.

SECTION 9.2. Temporary Layoff. Temporary layoffs will
first be on a voluntary basis offered by seniority, within the
department and shift, provided the remaining employees can
satisfactorily perform the jobs available. If there is further
need to reduce manpower, employees will be laid off within
a department for a temporary period, not to exceed one (1)

week, in accordance with the plant-wide seniority. When
informed of such layoff, employees will be advised of their
time of recall (employee will not be allowed to bump shift-
to-shift during a temporary layoff unless a recurring tempo-
rary layoff situation exists). Should it become necessary to
extend alayoffbeyond one week, the provisions of SECTION
9.3 shall apply.

a) A recurring layoff is one where there is a third
occurrence of a temporary layoff within a two (2)
calendar month period. The recurring layoff will
continue into the following two (2) calendar month
period unless there is a thirty (30)-day break between
the last temporary layoff in the original two (2)
calendar month period and the first temporary layoff
in the following two (2) calendar month period.

Exclusions: Temporary layoffs caused by equipment
failure or breakdown are excluded from the defini-

tion of a recurring layoff.

SECTION 9.3 Indefinite Layoff. The Company shall
determine the number of employees to be laid off and shall
include all plants and the warehouse. Those employees
whose jobs are affected will exercise their plant-wide senior-

ity as follows:

a) First ona voluntary basis offered by seniority within the
department.

b) Second, in accordance with the plant-wide seniority.

c) An employee volunteering for an indefinite layoff can
return to his original job and displace the employee

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d)

currently performing that job on or after sixty (60) days
of the date of layoff (or duration of layoff whichever is

less). Remaining employees will fill any vacancies within
their department.

Senior employee(s) electing layoff will have available

Unemployment Benefits as defined by state law.

Employees not having seniority to remain within the
affected department can exercise their plant-wide senior-
ity by filling any available openings in the plant. Should
there be no available openings, they displace the least
senior employee(s) in the plant.

Employees exercising their seniority in accordance with
the above must be capable of doing the job.

SECTION 9.4 Recall. When employees are on layoff due
to a reduction in force and it becomes necessary to increase
the work force, employees shall be recalled in accordance with

their seniority and ability to do the job by filling any available
opening within the Plant.

a)

An employee who has been displaced from his job dueto
areduction in force shall return to his regular classification,
then shift, (unless he shall have bid) when it becomes
available ona full time basis ifhe is currently on the active
payroll or is subject to recall from layoff. However, ifan
employee wishes not to return to his/her regular classifi-
cation, s/he may bid on his current position according
to Section 10.3 of the Agreement providing this is an
open position.

b)

Company liability on any improper recall shall not
commence until forty-eight (48) hours following such
improper recall.

No new employees will be hired in any department while
capable laid off employees are available. However, the
employee must complete the qualifying period if not
qualified on the job or new equipment or processes
have changed substantially since the employee last
qualified on the job.

. ARTICLEX
Transfers and Job Bidding

SECTION 10.1 Transfers. Employees may be transferred
outside of their regular classification and/or department for a
maximum of fifteen (15) working days in accordance with the
following:

a)

b)

9)

Ifaclassification within a department becomes vacant due
to an absence, the Company will be permitted to fill the
vacancy with a qualified volunteer, by seniority, a tem-
porary transfer from another department, or may choose
not to fill the vacancy.

If overtime is required, it will be filled within the depart-
ment from the sign-up sheet from the adjoining shift.

If no volunteers exist within the department, the Com-
pany will be permitted to fill the vacancy with a tempo-
rary transfer from a classification determined by the
Company. The Company will be able to backfill that
position.

Ifnot enough employees exist within the department, the
Company will be permitted to seek out additional quali-

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g)

h)

fied employees from other departments and transfer
those employees first with qualified volunteers, by se-
niority, and then by requiring the least senior qualified
employees to accept such transfers.

When the Company determines that a surplus of employ-

ees exists within a classification, the Company may retain
those employees to perform other work within their
department. The employees must be qualified to perform
the necessary work. .

Any classification temporarily created within a depart-
ment shall be filled by seniority between those employees
on shift and those employees reporting for overtime. A
created position will be those positions created for special

circumstances because of workload needs within respec-

tive classifications.

Should an employee be temporarily transferred to ahigher
paying position, the employee shall be paid at the higher
rate for all hours worked that day provided the employee
Spends at least four (4) hours working in the higher paying
job.

Should an employee be temporarily transferred to a lower
paying job, he shall be paid the employee’s regular rate
provided such transfer is due to Company requirements.

Should an employee be temporarily transferred to a lower
paying job, the employee shall be paid the lower rate for
hours worked in such job provided such transfer is due to
lack of work in the employee’s regular classification and
such lack of work would normally cause the employee to
be sent home. The employee will be advised of the rate.

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j)

k)

1)

From time to time employees are asked if they would like
to volunteer to:work in a lower rated job ona day they are
not scheduled to work. Should they volunteer for such
work, they will receive the lower rate.

If there is a lack of work within one or more depart-
ments on a scheduled work day, the Company will fill
needed positions in other active departments within
the plant first on a voluntary basis by qualifications
and seniority. If insufficient qualified volunteers
exist, the least senior qualified employees in those
departments lacking work will fill the remaining
openings. Any employees not volunteering or re-
quired to work will then be sent home.

When the Company requires employees to transfer
from side to side, such transfer shall be done by

seniority and ability.

SECTION 10.2 Job Bidding. Any employee who has at
least six (6) months of seniority shall be eligible to bid for any
Primary Job Opening. “Primary Job Openings” are perma-
nent vacancies which occur because:

a)

b)

A new job not previously held by an employee is created,
or,

An existing job is permanently vacated because an em-
ployee leaves the employ ofthe Company for any reason,

or,

An existing job is permanently vacated because an em-
ployee has successfully bid on an opening created by a)
or b) above.

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